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AO 472 (Rev. 11/16; DC 1/19) Order of Detention


                                       UNITED STATES DISTRICT COURT
                                                                for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                              District  of
                                                                        of __________

                   United States of America                        )
                              v.                                   )
                                                                   )   Case No.     1:21-cr-84
                       Daniel Page Adams
                                                                   )
                               Defendant                           )

                                        ORDER OF DETENTION PENDING TRIAL
                                                   Part I - Eligibility for Detention

     Upon the

                ޭ Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
                ✔ Motion of the Government or Court’s own motion pursuant to 18 U.S.C. § 3142(f)(2),
                ޭ

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court’s findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                             Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

  ޭ A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
    presumption that no condition or combination of conditions will reasonably assure the safety of any other person
    and the community because the following conditions have been met:
     ޭ (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
             ޭ (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
               § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
             ޭ (b) an offense for which the maximum sentence is life imprisonment or death; or
             ޭ (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
               Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
               (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
             ޭ (d) any felony if such person has been convicted of two or more offenses described in subparagraphs (a)
               through (c) of this paragraph, or two or more State or local offenses that would have been offenses
               described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
               jurisdiction had existed, or a combination of such offenses; or
             ޭ (e) any felony that is not otherwise a crime of violence but involves:
               (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
               (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
     ޭ (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
        § 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving rise to
        Federal jurisdiction had existed; and
     ޭ (3) the offense described in paragraph (2) above for which the defendant has been convicted was
        committed while the defendant was on release pending trial for a Federal, State, or local offense; and
     ޭ (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
        defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.


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   ޭ B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
     rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
     defendant as required and the safety of the community because there is probable cause to believe that the defendant
     committed one or more of the following offenses:
         ޭ (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
            Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21
            U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
         ޭ (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
         ޭ (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
            or more is prescribed;
         ޭ (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
            imprisonment of 20 years or more is prescribed; or
         ޭ (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
            2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
            2260, 2421, 2422, 2423, or 2425.

   ޭ C. Conclusions Regarding Applicability of Any Presumption Established Above

        ޭ The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is ordered on
          that basis, with the evidence or argument presented by the defendant summarized in Part III.C.

        ޭ The defendant has presented evidence sufficient to rebut the presumption, but after considering the presumption
          and the other factors discussed below, detention is warranted for the reasons summarized in Part III.

                OR

        ޭ The defendant has not presented sufficient evidence to rebut the presumption. Moreover, after considering
          the presumption and the other factors discussed below, detention is warranted for the reasons summarized in
          Part III.

                                   Part III - Analysis and Statement of the Reasons for Detention

  A. After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention
     hearing, the Court concludes that the defendant must be detained pending trial because the Government has
     proven:

          ✔ By clear and convincing evidence that no condition or combination of conditions of release will reasonably
          ޭ
            assure the safety of any other person and the community.

          ޭ By a preponderance of evidence that no condition or combination of conditions of release will reasonably
            assure the defendant’s appearance as required.

  B. In addition to any findings made on the record at the hearing, the reasons for detention include the following:

          ✔ Weight of evidence against the defendant is strong
          ޭ
          ޭ Subject to lengthy period of incarceration if convicted
          ޭ Prior criminal history
          ޭ Participation in criminal activity while on probation, parole, or supervision


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          ޭ   History of violence or use of weapons
          ޭ   History of alcohol or substance abuse
          ޭ   Lack of stable employment
          ޭ   Lack of stable residence
          ޭ   Lack of financially responsible sureties
          ޭ   Lack of significant community or family ties to this district
          ޭ   Significant family or other ties outside the United States
          ޭ   Lack of legal status in the United States
          ޭ   Subject to removal or deportation after serving any period of incarceration
          ޭ   Prior failure to appear in court as ordered
          ޭ   Prior attempt(s) to evade law enforcement
          ޭ   Use of alias(es) or false documents
          ޭ   Background information unknown or unverified
          ޭ   Prior violations of probation, parole, or supervised release

C. OTHER REASONS OR FURTHER EXPLANATION:

     The Gefendant’s evidence/arguments for release:

     Mr. Adams states that he has a family, potential gainful employment, and a leadership role in his community. Mr. Adams
     argues that his limited prior criminal history favors his release. Mr. Adams contends that his involvement in the riots was a
     “middle-management” role at best and that he was not an instrumental leader or organizer among the rioters. Mr. Adams asserts
     that he is not a flight risk, citing thirty-two letters written in support of his good moral character and demonstrated connection
     to his community as evidence that he will comply with any conditions imposed upon his release.




     Nature and circumstances of offense V :

     This factor weighs heavily in favor of detention. As Chief Judge Howell noted in United States v. Barnett, the title of the
     offense does not “properly capture the scope of what [Mr. Adams] is accused of doing here.” The alleged offense is an attack
     on the foundation of our democracy. More troubling is that Mr. Adams is established as a leader in his community and is
     alleged to have taken a leadership role in the January 6 riots. Mr. Adams allegedly led a charge of rioters against law
     enforcement who were protecting the certification process for the 2020 election. During a confrontation at the Capitol, Mr.
     Adams was injured while assaulting law enforcement. Despite having the chance to stop on two occasions as police formed a
     protective line, and even after police fired rubber bullets, Mr. Adams was undeterred and led the charge up the stair. Mr. Adams
     entered the Capitol only 39 seconds after the first individual breached the building, leading hundreds to follow afterward.

     The VWUHQJWK of the government’s evidence:

     The government’s evidence is strong and weighs in favor of detention. U.S. Capitol surveillance cameras captured Mr. Adams
     in front of the mob of rioters. Mr. Adams posted videos and photos of himself assaulting officers and breaching the Capitol on
     social media. The government also has electronic communications showing Mr. Adams and his co-defendant planning their
     visit to the capitol leading up to January 6.




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     The Gefendant’s history and characteristics, including criminal history:

      This factor weighs in favor of release. The Court recognizes that Mr. Adams has been a pillar of his community in Texas and
      that he has little in the way of a prior criminal history. Mr. Adams submitted thirty-two letters in support of his release, which
      demonstrate that Mr. Adams loves his country and his community. The Court particularly commends Mr. Adams on his efforts
      on the front lines when hurricane Harvey hit the Texas Gulf Coast. Based on these letters, the Court finds Mr. Adams to be a
      dedicated family man, a supportive neighbor, and a respected professional.




     7KHGHIHQGDQW¶VGDQJHURXVQHVVULVNRIIOLJKW

      The Court is concerned about Mr. Adams's dangerousness. He believed it was legitimate to try to forcibly alter the outcome of a
      democratic election. He may still hold this unfounded belief and act on it. The government has sought detention in the vast
      minority of the Capitol riot cases. However, they make a distinction here that people such as Mr. Adams who were managers /
      organizers and assaulted police are in one of the highest risk categories. Mr. Adam’s false beliefs regarding the illegitimacy of
      the current government and pending obstruction of justice charges leads the Court to conclude that there are no conditions or
      combination of conditions that could prevent Mr. Adams from engaging in repeat insurrectionist and obstructive conduct. Thus,
      detention is warranted.




                                                  Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an appearance in
connection with a court proceeding.
                                                                                               2021.02.16 21:31:51 -05'00'
Date:                 02/16/2021
                                                                                United States Magistrate Judge




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